Case 2:05-cr-20278-.]DB Document 9 Filed 07/28/05 Page 1 of 3 Page|D 13

UNITEI) sTATEs DIsTRlCT COURT F“-ED B"' ~%~ D-°-
wEsTERN DISTRICT oF TENNESSEE .
Western Division 05 JUL 28 m ll* 28

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UNITED STATES OF AMERICA W;i;, {“_,: "§_"4 rigging-gs
-v- Case No. 2:05cr20278-001B

PAUL E. PHILLIPS III

 

  

ORDER SETTING _
COND|T|ONS OF RELEASE iii

lT lS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l ) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) rl`he defendant shall immediately advise the court, Pretrial Services Office, Probation Off'lce, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraigmnent in the United States Courthouse and
Federal Building in Courtroom 5 on Wednesday, July 27, 2005, at 9:30 a.m..

ADD|T|ONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 execute a boudin the amount of $5,000 or an agreement to forfeit upon failure to appear as required, and post
with the following amount of money to be deposited into the registry of the Court: $500.
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0 report as directed by the Pretrial Services Office.

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FQLLOW|NG PENALT|ES AND SANQ]]_ONS: __W

A violation ofany of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

n _` 1 This document entered on the docket sheet in compliance
AO 199A OrderSettlng C:)ndltinns ofRelease With HL|[B 55 and/07 32(b} FF‘lCFP Ol'l _l'__a_g& @

" aaa ,':rc. v .' .“

Case 2:05-cr-20278-.]DB Document 9 Filed 07/28/05 Page 2 0f*3`"""l3age|D 14

rl`he commission of a F ederal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
iiil`ormant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of‘.

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

t3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $lO0,000 or imprisoned not more than one year, or both.

/\ term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other ol`fense. ln addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowiedge that I am the defendant in this case and that I arn aware of the conditions ofrelease. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed l arn aware

of the penalties and sanctions Set forth abGVe. 0
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{/ _

Signature of Defendant

Paul E. Phillips III

224 Auburn Ave. `
Dyersburg, TN 38024`
731-287-3994

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D|RECTIONS TO THE UNITED STATES MARSHAL::_ `

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerl< or
ludicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

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Daie; _iuiy25,2005 ` -/ Mii " /C,_

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

EE

AO 199A Order Sett`ing Conditlons of Release -2-

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20278 was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

